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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on August 11, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-MJ-691
AVERY MACCRACKEN, : VIOLATIONS:
> =: 18 U.S.C. § 231(a)(3)
Defendant. : (Civil Disorder)

18 U.S.C. §§ 111(a)(1) and (b)
(inflicting Bodily Injury on Certain
Officers)

18 U.S.C. § 111(a)()

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly or Disruptive Conduct in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)Q2)(F)

(Act of Physical Violence on Capitol
Grounds)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, AVERY MACCRACKEN,
committed and attempted to commit an act to obstruct, impede, and interfere with a law

enforcement officer, lawfully engaged in the lawful performance of his/her official duties incident
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to and during the commission of a civil disorder which in any way and degree obstructed, delayed,
and adversely affected commerce and the movement of any article and commodity in commerce
and the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, within the District of Columbia, AVERY MACCRACKEN,
did forcibly assault, resist, oppose, impede, intimidate, interfere and inflict bodily injury on, an
officer and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), and any person assisting such an officer and
employee, while such officer or employee was engaged in or on account of the performance of
official duties, that is, J.G. an officer from the Metropolitan Police Department, and where the acts
in violation of this section involve physical contact with the victim and the intent to commit another
felony.

(Inflicting Bodily Injury on Certain Officers, in violation of Title 18, United States
Code, Sections |11(a)(1) and (b))

COUNT THREE

On or about January 6, 2021, within the District of Columbia, AVERY MACCRACKEN,
did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee
of the United States, and of any branch of the United States Government (including any member
of the uniformed services), and any person assisting such an officer and employee that is, H.F. an
officer from the Metropolitan Police Department, while such person was engaged in and on
account of the performance of official duties, and where the acts in violation of this section involve
physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))
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COUNT FOUR
On or about January 6, 2021, within the District of Columbia, AVERY MACCRACKEN,
did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-
off, and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FIVE

On or about January 6, 2021, within the District of Columbia, AVERY MACCRACKEN,
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted
area within the United States Capitol and its grounds, where the Vice President was temporarily
visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT SIX
On or about January 6, 2021, within the District of Columbia, AVERY MACCRACKEN,
did knowingly, engage in any act of physical violence against any person and property in a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was temporarily
Visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))
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COUNT SEVEN
On or about January 6, 2021, within the District of Columbia, AVERY MACCRACKEN,
willfully and knowingly engaged in an act of physical violence within the United States Capitol
Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON.

Attorney of the United States in
and for the District of Columbia.
